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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DISTRICT



UNITED STATES OF AMERICA                    )
                                            )
v.                                          )                      4:13mj4026 HDY
                                            )
FADI QTOUF                                  )


                                            ORDER

       The defendant’s motion to continue (docket entry no. 8) is granted, and the detention

hearing is re-scheduled for Tuesday, August 27, 2013, at 2:00 p.m. The defendant must be

afforded a reasonable opportunity to consult privately with defense counsel.

       IT IS SO ORDERED this 23 day of August, 2013.




                                                UNITED STATES MAGISTRATE JUDGE
